Case 18-69497-bem       Doc 29   Filed 05/09/20 Entered 05/09/20 11:24:33              Desc Main
                                 Document     Page 1 of 5



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                      :        CHAPTER 7
SANDRA BROOKS                               :        CASE NO. 18-69497-BEM
aka SANDRA HITT BROOKS                      :
aka SANDRA LYNN BROOKS                      :
       Debtor.                              :        JUDGE ELLIS-MONRO

       AMENDMENT TO SCHEDULE C, AND THE SUMMARY OF ASSETS AND
                           LIABILITIES

       COMES NOW the debtor SANDRA BROOKS, and hereby files this Amendment to the
voluntary petition as follows:

                                                1.
       Debtor amends Schedule C to change the claimed exemption of her Brighthouse life policy
variable annuity to statute OCGA §44-13-100(a)(6), in the amount of $4,061.33.
                                                2.
       Debtor amends the Summary of Assets and Liabilities to reflect these changes.


       WHEREFORE, said Debtor has appropriately amended her bankruptcy petition.
       This the 8th day of May, 2020.

                                            by:    /s/ Peter Bricks
                                            Peter Bricks
                                            Georgia Bar. No. 139706
Peter Bricks, P.C.                          Attorney for Debtor
333 Sandy Springs Circle, NE, Suite 206
Atlanta, Georgia 30328
Ph: (770) 696-4577
Fax: (678) 791-4788
peter@brickslaw.com

      I declare under penalty of perjury that the information provided in this Amendment to
Schedule C of the Bankruptcy Petition is true and correct.

       This the 8th day of May, 2020.
                                                     __/s/   Sandra Brooks
                                                             SANDRA BROOKS
              Case 18-69497-bem                     Doc 29          Filed 05/09/20 Entered 05/09/20 11:24:33                                  Desc Main
                                                                    Document     Page 2 of 5
              Fill in this information to identify your case:

 Debtor 1                    Sandra Brooks
                             First Name                     Middle Name                    Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name                    Last Name


 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                              amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill
out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if
known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any
applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption
to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited to the
applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions.          11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the       Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from        Check only one box for each exemption.
                                                              Schedule A/B

      Pension with Brighthouse                                                                                                    O.C.G.A. § 44-13-100(a)(6)
      Line from Schedule A/B: 21.1
                                                                     $16,000.00                                    $4,061.33
                                                                                             100% of fair market value, up to
                                                                                              any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                      No
                      Yes




Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                                             page 1 of 1
Software Copyright (c) 2020 CINGroup - www.cincompass.com
              Case 18-69497-bem                           Doc 29           Filed 05/09/20 Entered 05/09/20 11:24:33                                                  Desc Main
                                                                           Document     Page 3 of 5
              Fill in this information to identify your case:

 Debtor 1                   Sandra Brooks
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF GEORGIA, ATLANTA DIVISION

 Case number
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                     amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................      $             320,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................           $              38,436.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................      $             358,436.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A,Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                        $             358,888.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of
                                                                                       Schedule E/F.................................                                $                     0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of
                                                                                          Schedule E/F............................                                  $             106,672.00


                                                                                                                                     Your total liabilities $                 465,560.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 ofSchedule I................................................................................                 $                 3,416.66

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                            $                 3,364.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
         No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes
 7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “         incurred by an individual primarily for a personal, family, or household
                purpose.”11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C.§ 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to the
                court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                       page 1 of 2
Software Copyright (c) 2020 CINGroup - www.cincompass.com
          Case 18-69497-bem                         Doc 29     Filed 05/09/20 Entered 05/09/20 11:24:33                              Desc Main
                                                               Document     Page 4 of 5
 Debtor 1     Brooks, Sandra                                                                 Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                           $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                          Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                    $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                           $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                 $              0.00

       9d. Student loans. (Copy line 6f.)                                                                  $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                                $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             +$              0.00


       9g. Total. Add lines 9a through 9f.                                                            $                 0.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                   page 2 of 2
Software Copyright (c) 2020 CINGroup - www.cincompass.com
Case 18-69497-bem        Doc 29    Filed 05/09/20 Entered 05/09/20 11:24:33            Desc Main
                                   Document     Page 5 of 5



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                       :       CHAPTER 7
SANDRA BROOKS                                :       CASE NO. 18-69497-BEM
aka SANDRA HITT BROOKS                       :
aka SANDRA LYNN BROOKS                       :
       Debtor.                               :       JUDGE ELLIS-MONRO
                                  CERTIFICATE OF SERVICE

       This is to certify that I have this day served the below named party with a copy of the
within and foregoing:

       AMENDMENT TO SCHEDULE C, AND THE SUMMARY OF ASSETS AND
                           LIABILITIES

by hand delivery or by depositing a copy of in the United States Mail, properly addressed, with
postage thereon to ensure delivery of same.

S. Gregory Hays
Chapter 13 Trustee (via ECF)

Sandra Brooks
212 Ivey Park Lane
Norcross, GA 30092

       This the 8th day of May, 2020.

                                             by:    /s/ Peter Bricks
                                             Peter Bricks
                                             Georgia Bar. No. 139706
Peter Bricks, P.C.                           Attorney for Debtor
333 Sandy Springs Circle, NE, Suite 206
Atlanta, Georgia 30328
Ph: (770) 696-4577
Fax: (678) 791-4788
peter@brickslaw.com
